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                 IN THE UNITED STATES DISTRICT COURT
                               FOR THE
                   MIDDLE DISTRICT OF PENNSYLVANIA


IRVING MURRAY,                      :
                                    :
            Plaintiff               :
                                    :
     v.                             :     CIVIL NO. 3:CV-17-491
                                    :
JOHN E. WETZEL, ET AL.,             :     (Judge Conaboy)
                                    :
            Defendants              :


________________________________________________________________
                              ORDER
                           Background

     Irving Murray, an inmate presently confined at the

Mahanoy State Correctional Institution, Frackville,

Pennsylvania (SCI-Mahanoy), filed the above captioned pro se

civil rights action pursuant to 42 U.S.C. § 1983.           A second

action initiated by the Plaintiff was previously consolidated

into this matter.

     Remaining Defendants in the consolidated filings include

multiple SCI-Mahanoy officials.         Plaintiff asserts that he is

not being provided with adequate medical care for his asthma,

Hepatitis C, hypertension, epilepsy, and other health

problems.   Murray adds that the alleged withholding of needed

treatment and medications is being undertaken in retaliation

for his affiliation with a high profile prisoner.           The


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Complaint also raises claims that prison officials have

improperly required Murray to pay for pain medication through

the prison commissary, falsified records, failed to provide

mental health programming, and improperly assigned him to an

upper bunk.

     Presently pending is Plaintiff’s third motion seeking

preliminary injunctive relief.         See Doc. 106.   By Order dated

January 10, 2018 two earlier motions for preliminary

injunctive relief filed by Murray were denied.

     In his pending motion Plaintiff asserts that prison

officials are: tampering and/or blocking his legal mail;

issuing him false misconducts; denying him adequate

psychiatric and Hepatitis C medication; and refusing to

provide him with physical therapy.         Murray describes these

alleged deprivations as being retaliatory.         The Remaining

Department of Corrections (DOC) Defendants have opposed the

motion.

                             Discussion

     As previously discussed by this Court, preliminary

injunctive relief is extraordinary in nature, and is

discretionary with the trial judge.         Orson, Inc. v. Miramax

Film Corp., 836 F. Supp. 309, 311 (E.D. Pa. 1993) (citing

Skehan v. Board of Trustees of Bloomsburg State College, 353


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F. Supp. 542 (M.D. Pa. 1973)).         When considering a motion

seeking preliminary injunctive relief, a court must consider

four factors:   (1) the likelihood that the applicant will

prevail on the merits; (2) the extent to which the movant is

being irreparably harmed by the challenged conduct; (3) the

extent to which the non-moving party will suffer irreparable

harm if the preliminary injunction is issued; and (4) whether

granting preliminary injunctive relief will be in the public

interest.   S & R Corp. v. Jiffy Lube Int'l, Inc., 968 F.2d

371, 374 (3d Cir. 1992) (citing Hoxworth v. Blinder, Robinson

& Co., 903 F.2d 186, 197-98 (3d Cir. 1990)).

     It is Murray who bears the burden of demonstrating these

factors.    See Dorfman v. Moorhous, No. Civ. A. 93-6120, 1993

WL 483166, at *1 (E.D. Pa., Nov. 24, 1993).         Most importantly,

the Plaintiff must show that if his motion is not granted, he

is likely to suffer irreparable harm before a decision on the

merits can be rendered.     Continental Group, Inc. v. Amoco

Chems. Corp., 614 F.2d 351, 356 (3d Cir. 1980).         Irreparable

injury has been defined as "potential harm which cannot be

redressed by a legal or equitable remedy following a trial."

Instant Air Freight v. C.F. Air Freight, Inc., 882 F.2d 797,

801 (3d Cir. 1989).    Relief may not be awarded unless "[t]he

preliminary injunction [is] the only way of protecting the



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plaintiff from harm."     Id.

     Speculative injury does not constitute a showing of

irreparable harm.    Continental, 614 F.2d at 359).       "The

possibility that adequate compensatory or other corrective

relief will be available at a later date, in the ordinary

course of litigation, weighs heavily against a claim of

irreparable harm."    Instant Air Freight, 882 F.2d at 801

(quoting Sampson v. Murray, 415 U.S. 61, 90 (1964)).

     The DOC Defendants initially argue that Plaintiffs’

cannot obtain preliminary injunctive relief on non-related

issues such as tampering with his legal mail and retaliatory

misconduct charges.    See Doc. 119, p. 4.     They add that there

are no allegations that any of the named Defendants are

involved with the purported mail tampering and issuance of

misconduct charges.

     A review of the docket shows that Plaintiff continues to

regularly files motions and other documents in this matter.

Second, the pending motion does not identify any specific

misconduct charges.    Nor does Plaintiff identify any legal

mail which was the subject of tampering.       Moreover, this Court

agrees that the Complaint does not raise any claims relating

to mail tampering or fabricated misconducts.        Based upon those

considerations, this Court agrees that Plaintiff has not



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satisfied his burden of demonstrating entitlement to

preliminary injunctive relief with respect to the claims of

legal mail tampering and issuance of bogus misconduct charges.

     With respect to claims regarding Murray’s medical

treatment, the DOC Defendants maintain that Plaintiff is not

likely to prevail on the merits of his pending case since his

claims simply represent a disagreement over what treatment

should be provided.

     As discussed by this Court’s March 15, 2018 Memorandum

and Order, Hepatitis C is a progressive disease which causes

liver damage, and in some instances death.        The timing of

treatment is important and there is a higher success rate when

Hepatitis C treatment is initiated at an early stage.           See

Lee v Sewell, 159 Fed. Appx. 419, 421 (3d Cir. 2005)

(prisoner’s claim of being denied Hepatitis C medication for

six months sets forth a viable claim of deliberate

indifference).

     Murray contracted Hepatitis C in or around 2000.         See

Murray v. Department of Corrections, Civil No 15-48, slip op.

at p. 3. (W.D. Pa. Nov. 16, 2016).       He did not receive any

treatment prior to 2010 and thereafter underwent periodic

diagnostic testing for his illness.       See id.   While

incarcerated at SCI-Albion between 2012-2015 the Plaintiff was



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regularly screened and evaluated and was a participant in the

prison’s Chronic Hepatitis Clinic.       See id. at p. 6.

     Plaintiff states that he reentered prison as a parole

violator on October 14, 2016.      See Doc. 1, p. 15.     He admits

that he was not receiving any Hepatitis C treatment at the

time he entered SCI-Mahanoy.      See id. at p. 27.     It is

undisputed that Murray continues to be seen at the prison’s

Hepatitis C clinic.    An affidavit recently filed by Plaintiff

admits that he was seen by a nurse in the Hepatitis C clinic

on June 17, 2018.    See Doc. 169.

     The DOC has enacted a priority protocol for the treatment

of Hepatitis C inmates and the Corrections Defendants’

opposing brief represents that Murray’s 2017 test results show

that he falls within the lowest priority and that given the

slow progression of this disease, Plaintiff is not presently

at risk of irreparable harm.

     It is undisputed that Plaintiff has a serious medical

condition.   It is equally clear that his condition will

continue to worsen.    Plaintiff seeks treatment with DAA

medications (Sovaldi and Harvoni), which are described as

being expensive but with high success rates and relative low

risk side effects.    The DOC has enacted a Hepatitis C protocol

whereby all affected state prisoners are evaluated for



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treatment by a Hepatitis C Treatment Committee.         According to

the DOC Defendants’ opposing brief, it has been determined

Plaintiff is not yet entitled to treatment with DAA

medications.   However, this conclusion is not supported by any

competent medical evidence.

     Given the age of this case, the passage of time since

Plaintiff was diagnosed with Hepatitis C, and the fact that

the representations regarding Plaintiff’s present lack of need

for DAA treatment set forth in the opposing brief are not

supported by any medical evidence, the motion for preliminary

injunctive relief will be granted in part.

     Within thirty (30) days of the date of this Order, the

Remaining Defendants will provide Plaintiff with an evaluation

by a physician experienced in the treatment of Hepatitis C,

and the use of DAA medications.        A written report setting

forth the details and findings of the evaluation including any

recommendations for treatment including whether Plaintiff is

eligible for DAA medications under the DOC protocol policy

shall be provided to Murray and filed with the Court within

fourteen (14) days following the evaluation.

     An appropriate Order will enter.




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     AND NOW, THIS 29th    DAY OF JUNE, 2018, IT IS HEREBY

ORDERED THAT:



                1.    Plaintiff’s motion for preliminary

                      injunctive relief (Docs. 106) is GRANTED

                      IN PART.

                2.    Within thirty (30) days of the date of

                      this Order, the Remaining Defendants will

                      provide Plaintiff with an evaluation by a

                      physician experienced in the treatment of

                      Hepatitis C, and the use of DAA

                      medications.

                3.    A written report setting forth the details

                      and findings of the evaluation including

                      any recommendations for treatment

                      including Murray’s eligibility for DAA

                      medications shall be provided to the

                      Plaintiff and filed with the Court within

                      fourteen (14) days following the

                      evaluation.



                            S/Richard P. Conaboy
                            RICHARD P. CONABOY
                            United States District Judge


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